Case 2:12-cr-00075-KSH             Document 730      Filed 10/18/18       Page 1 of 2 PageID: 5082


  PROB 12A
  (7/93)

                                 United States District Court
                                                  for

                                       District of New Jersey
                              Report on Offender Under Supervision
  Name of Offender: Hyon-Suk Chung                                                    Cr.: 12-00075-002
                                                                                       PACTS#:59173


  Name of Sentencing Judicial Officer: THE HONORABLE KATHARINE S, HAYDEN
                                          SENIOR UNITED STATES DISTRICT JUDGE

  Date of Original Sentence: 01/08/2014

  Original Offense: Conspiracy to commit mail and wire fraud

  Original Sentence: 60 months probation

  Special Conditions: 12 months Location Monitoring, New Debt Restrictions,$100 Special Assessment,and
  $2,047,651 in Restitution

  Type of Supervision: Probation                               Date Supervision Commenced:01/08/2014
                                           STATUS REPORT

  Ms. Chung currently resides in North Bergen, New Jersey, and she has been employed with Floris
  Nails since July 2012. We believe that Ms. Chung has paid the court-ordered restitution to the best
  of her financial ability. To date, she has paid $11,200 towards the restitution balance. It should be
  noted that should her term ofsupervision expire as scheduled, her case will be referred to the U.S.
  Attorney's Office, Financial Litigation Unit, for the collection of any outstanding criminal
   monetary penalties.

  Recommendation: It is respectfully requested that Your Honor take no further action and allow
  Ms. Chung's term of supervision to expire as scheduled on January 7, 2019.

                                                                 Respectfully submitted,

                                                                 Midkeiie. Sie<!Uuk

                                                                  By: Michelle A Siedzik
                                                                      U.S. Probation Officer
                                                                  Date: 10/16/2018
Case 2:12-cr-00075-KSH           Document 730          Filed 10/18/18       Page 2 of 2 PageID: 5083


                                                                                          Prob 12A - page 2
                                                                                           Hyon-Suk Chung



    Please check a box below to indicate the Court's direction regarding action to be taken in this case:

 ^ No Formal Court Action to be Taken at This Time - Supervision to Expire on January 7, 2019.
  r~ Submit a Request for Modifying the Conditions or Term of Supervision
  l~ Submit a Request for Warrant or Summons
  r Other



                                                                  Signature of Judicial Officer

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